Case 1:23-cv-03721-SCJ Document 1-165 Filed 08/21/23 Page 1 of 2




                EXHIBIT B-153
       Case 1:23-cv-03721-SCJ Document 1-165 Filed 08/21/23 Page 2 of 2

                                                                           FILED IN OFFICE

                  IN THE SUPERIOR COURT OF FULTON COUNTY
                             STATEOF GEORGIA                               DEPUTYCL RK SUPERIORCOURT
                                                                                F1::'._L_:.'2N
                                                                                         COUNTY, GA


IN RE 2 MAY 2022 SPECIAL PURPOSE                     2022- EX-000024
GRAND JURY



                               SCHEDULING ORDER

       On 28 April 2023, Cathleen Latham, one of the "alternate" electors advanced by

Georgia's Republican Party in the aftermath of the 2020 general election in Georgia, filed

a motion joining former President Trump's motion seeking to quash the final report of

the Special Purpose Grand Jury in this matter. Both motions also seek the disqualification

of the Fulton County District Attorney's Office from any further investigation into or

prosecution of any alleged interference with the 2020 general election. So that all

arguments can be considered together, the District Attorney's Office deadline for filing a

combined response is extended to 15 May 2023.

       SO ORDERED this 1st day of May 2023.




                                                 udge Robert C.I. Mc     ney
                                                Superior Court of Fulton County
                                                Atlanta Judicial Circuit
